                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION


In re:                                     )
                                           )      Case No. 21-42564
Varnell and Regina Woods,                  )
                                           )      Memorandum
Debtor(s).                                 )

                                       MEMORANDUM
         PLEASE TAKE NOTICE that pursuant to Federal Rule of Bankruptcy Procedure 1009,
the Debtor has filed Amended Schedules.


Amended Schedule A/B
         Adding Potential Other Contingent & Unliquidated Claims

Amended Schedule E/F

         Kevin Mannion
         2747 Scott Road
         Moscow Mills MO 63362-0000

         Additional Notice to
         OTT Law Firm
         3407 S Jefferson Avenue
         St Louis, MO 63118

Amended SOFA

         Adding Lawsuit 2211-CC00058


                                                  Respectfully submitted,
                                                  ADAMS LAW GROUP

                                                  /s/ Jack J. Adams_______________
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